Case 21-30589-MBK             Doc 3965       Filed 07/28/23 Entered 07/28/23 21:06:16                      Desc Main
                                           Document      Page 1 of 8



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

     OFFIT KURMAN, P.A.
     Paul J. Winterhalter, Esquire (006961986)
     99 Wood Avenue South, Suite 302
     Iselin, New Jersey 08830
     Telephone:     (267) 338-1370
     Facsimile:     (267) 338-1335
     E-mail:        pwinterhalter@offitkurman.com

     KTBS LAW LLP
     Michael L. Tuchin, Esq. (pro hac vice)
     Robert J. Pfister, Esq. (pro hac vice)
     Samuel M. Kidder, Esq. (pro hac vice)
     Nir Maoz, Esq. (pro hac vice)
     1801 Century Park East, 26th Floor
     Los Angeles, California 90067
     Telephone:      (310) 407-4000
     Facsimile:       (310) 407-9090
     Email:          mtuchin@ktbslaw.com
                     rpfister@ktbslaw.com
                     skidder@ktbslaw.com
                     nmaoz@ktbslaw.com

     Attorneys for Aylstock, Witkin, Kreis & Overholtz,
     PLLC

     In re:                                                             Chapter 11

     LTL MANAGEMENT LLC,1                                               Case No.: 21-30589 (MBK)

                                       Debtor.                          Judge: Michael B. Kaplan

                                                                        Hearing Date & Time:
                                                                        August 2, 2023 at 10:00 a.m.

                          REPLY IN SUPPORT OF MOTION OF
                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC
 O
                 FOR ALLOWANCE OF SUBSTANTIAL CONTRIBUTION CLAIM

              Aylstock, Witkin, Kreis & Overholtz, PLLC (“AWKO”), on behalf of thousands of holders

 of talc personal injury claims detailed in its Rule 2019 statement [Bankr. D.I. 2391], submits this




 1
       The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
       Street, New Brunswick, New Jersey 08933.
Case 21-30589-MBK            Doc 3965       Filed 07/28/23 Entered 07/28/23 21:06:16                       Desc Main
                                          Document      Page 2 of 8



 reply to the Debtor’s Omnibus Objection to Motions for Allowance of Substantial Contribution

 Claims [Bankr. D.I. 3962] (the “Objection”)2 and in support of AWKO’s motion for allowance of

 a substantial contribution claim [Bankr. D.I. 3951] (the “Motion”).

                                    I. PRELIMINARY STATEMENT

         The issues actually in dispute are quite narrow. The Debtor does not dispute that “AWKO

 was an active participant throughout the 2021 Chapter 11 Case[.]” Obj. ¶ 47. Nor is there any

 challenge to the reasonableness of AWKO’s fees, the number of timekeepers, or the like. Indeed,

 there is no objection to any specific item in the detailed time entries attached to the Pfister

 Declaration, all of which were carefully reviewed to exclude fees incurred on AWKO-specific

 matters that did not benefit the estate as a whole – such as, e.g., preparation of AWKO’s Rule 2019

 Statement, and work in connection with potential Committee membership of AWKO clients.

         At bottom, the Debtor’s Objection to the Motion consists of three arguments: first, that the

 Debtor’s failure to reorganize precludes creditors from asserting substantial contribution claims;

 second, that AWKO’s services were “duplicative” of services provided by other parties in interest;

 and third, that AWKO’s efforts to obtain dismissal of this case constituted “scorched earth”

 litigation tactics that harmed the estate and creditors. (The Debtor also objects to fees relating to

 contesting First Day Motions, see Obj. ¶ 35, but AWKO did not object to the First Day Motions

 and does not seek reimbursement of any fees incurred in connection therewith.) For the reasons

 set forth below, all of these arguments are without merit.



 2
     The Debtor objects to both AWKO’s Motion and the Omnibus Motion of the Substantial Contribution Claimants
     [Etc.] [Bankr. D.I. 3949] (the “Omnibus Motion”) on substantially similar grounds. AWKO adopts and
     incorporates the reply filed in support of the Omnibus Motion to the extent consistent herewith. The United States
     Trustee also filed a response to the Motion and the Omnibus Motion (styled as an “omnibus objection”). See
     Bankr. D.I. 3963 (the “UST Response”). The UST Response does not appear to oppose the relief sought in the
     Motion; it merely “submits that the Court deny the Substantial Contribution Motions if the Movants are unable
     to satisfy the standards under Section 503.” UST Response at 7 (emphasis added). For all the reasons set forth
     in the Motion and in this reply, AWKO satisfies the standards under section 503.


                                                          2
Case 21-30589-MBK         Doc 3965     Filed 07/28/23 Entered 07/28/23 21:06:16               Desc Main
                                     Document      Page 3 of 8



        The Debtor says that “[h]allmarks of appropriate substantial contribution efforts, as

 demonstrated by Movants’ own cases, include those actions which enhance efficiency, add to the

 prompt administration and resolution of a case and help preserve value for creditors and the estate.”

 Obj. ¶ 33. AWKO’s efforts bore all of those hallmarks. Its work was unique, narrowly tailored,

 and effective in substantially contributing to the dismissal of the case, which inured to the benefit

 of the creditor body as a whole. Indeed, by the Debtor’s telling, it was the dismissal of 2021 LTL

 that spurred the Debtor to come to the table in 2023 LTL with a substantially larger ($8.9 billion)

 settlement proposal. In short, AWKO played an integral role in enhancing value for the entire

 creditor body and is therefore entitled to an administrative expense claim for its “substantial

 contribution in [the] case.” 11 U.S.C. § 503(b)(3)(D).

                                          II. ARGUMENT

 A.     A Confirmed Plan is Not a Prerequisite to a Substantial Contribution Claim.

        The Debtor argues or implies that no substantial contribution claim can be awarded for

 work that leads to dismissal of a chapter 11 case, rather than reorganization pursuant to a confirmed

 plan. See, e.g., Obj. at 4 (arguing that substantial contribution claims are “meant to compensate a

 creditor for … services that directly and materially contribute to the reorganization” (emphasis

 omitted)); see also id. ¶¶ 27, 29, 30, 38, 41, 44. That is not correct.

        The Bankruptcy Code authorizes administrative claims for expenses incurred “in making

 a substantial contribution in a case under chapter 9 or 11 of this title[.]” 11 U.S.C. § 503(b)(3)(D).

 Congress intentionally omitted from the statute any requirement that such efforts be made in

 furtherance of a confirmed plan. See 3 Norton Bankr. L. & Prac. 3d § 49:41 (2023) (“Legislative

 history defines the term [substantial contribution] as not requiring ‘a contribution that leads to

 confirmation of a plan, for in many cases, it will be a substantial contribution if the person involved




                                                   3
Case 21-30589-MBK             Doc 3965       Filed 07/28/23 Entered 07/28/23 21:06:16                       Desc Main
                                           Document      Page 4 of 8



 uncovers facts that would lead to a denial of confirmation ….’” (quoting S. Rep. No. 989, 95th

 Cong., 2d Sess. 66-67 (1978)).

          Case law from the Third Circuit and elsewhere confirms that a successful reorganization is

 not a prerequisite to allowance of a substantial claim. See, e.g., Lebron v. Mechem Fin. Inc., 27

 F.3d 937, 945-46 (3d Cir. 1994) (citing legislative history for the proposition that the statute “does

 not require a contribution that leads to confirmation of a plan” and remanding for a factual

 determination on whether creditor’s efforts prior to conversion of case from chapter 11 to chapter

 7 made a substantial contribution); In re Team Sys. Int’l LLC, 640 B.R. 296, 322 n.139 (Bankr. D.

 Del. 2022) (citing Lebron for the proposition that a substantial contribution claim “may be asserted

 after conversion to chapter 7 by a creditor that made such a contribution while the case was

 proceeding under chapter 11”); In re Williams, 49 F. App’x 845, 850 (10th Cir. 2002) (substantial

 contribution claim allowed in connection with efforts to convert case to chapter 7).

 B.       The Services for Which AWKO Seeks Reimbursement Were Not Duplicative of the
          TCC’s or Any Other Party’s Work

          The Debtor contends that AWKO’s work was duplicative of work performed by others.

 See, e.g., Obj. ¶¶ 47-50; see also id. ¶¶ 36-43.3 The Debtor’s cases on “duplication” focus on

 whether the substantial contribution claimant’s work was duplicative of services provided by

 estate professionals.4




 3
      Although paragraphs 47-50 comprise the AWKO-specific portion of the Objection, the Debtor contends that
      AWKO’s substantial contribution claim for work in the North Carolina Phase “fails for the same reasons as the
      [other claimants’] requests do” and incorporates by reference the arguments made in connection with those
      claimants. See Obj. ¶ 47.
 4
      See In re Deval Corp., 592. B.R. 587, 599 (Bankr. E.D. Pa. 2018) (“[S]ervices that are duplicative of other estate
      professionals generally will not qualify for reimbursement under section 503(b)(3)(D) or (b)(4)).”; In re RS
      Legacy Corp., 2016 WL 1084400, at *4 (Bankr. D. Del. Mar. 17, 2016) (“services that are duplicative of other
      estate professionals are insufficient”); In re Bayou Grp., LLC, 431 B.R. 549, 561 (Bankr. S.D.N.Y. 2010) (a
      substantial contribution claim cannot be “based on services that duplicated those of other professionals already
      compensated by the estate, such as counsel for the debtor or an official committee”).


                                                           4
Case 21-30589-MBK             Doc 3965       Filed 07/28/23 Entered 07/28/23 21:06:16                          Desc Main
                                           Document      Page 5 of 8



         During the North Carolina Phase, the TCC had yet to be appointed, and thus, by definition,

 AWKO’s work was not duplicative of any estate professional. Cf. UST Obj. ¶ 23 (“[T]he U.S.

 Trustee recognizes (and the docket evidences) there was significant activity and substantial issues

 presented to the North Carolina Bankruptcy Court and the Bankruptcy Administrator in the period

 before a committee could be appointed. The U.S. Trustee therefore recognizes it is more likely

 that services performed in that period may have benefited creditors and the estate as a whole ….”).

         AWKO certainly acknowledges the important work of others involved in the North

 Carolina Phase; creditors worked in close collaboration to, among other things, oppose the PI

 Motion and advocate for venue transfer. But, as the record reflects and the declaration attached to

 the Omnibus Motion evidences, each participant made a unique and valuable contribution to the

 North Carolina Phase of the case.5 Nothing in the case law precludes multiple firms from

 coordinating to collectively make a substantial contribution to a case in the absence of an official

 committee, and the Debtor’s conclusory accusations of “duplication” are insufficient to rebut the

 evidence before the Court.

         With respect to the Dismissal Phase, AWKO does not dispute that the TCC took the lead

 in litigating the motion to dismiss. But it simply is not true that AWKO’s “positions and arguments

 duplicated, almost verbatim, the efforts of the TCC and other parties in the 2021 Chapter 11 Case.”

 Obj. ¶ 49. The sole support for this sweeping accusation is the fact that AWKO and the TCC both

 (unsurprisingly and correctly) argued in their respective dismissal motions that this case served no

 valid reorganizational purpose. See id. That AWKO shared the same ultimate goal as the TCC –




 5
     See Certification of the Plaintiffs’ Steering Committee in Support of [Omnibus Motion] [Bankr. D.I. 3949-2] ¶ 51
     (“The objectors worked in close coordination to avoid duplication of efforts and to ensure an orderly and efficient
     presentation of argument and evidence. I believe that AWKO [and other creditors] added value to this stage of
     the case through, among other things, its briefing and argument to the Court as well as its participation in discovery
     related to the preliminary injunction motion.”).


                                                            5
Case 21-30589-MBK        Doc 3965     Filed 07/28/23 Entered 07/28/23 21:06:16             Desc Main
                                    Document      Page 6 of 8



 dismissal for lack of a valid reorganizational purpose – does not mean that its work was duplicative

 of the TCC. The Court’s direct observation (from presiding over the trial) is sufficient to confirm

 AWKO’s unique, non-duplicative contributions to the motion to dismiss.

        The third and final prong of the Debtor’s “duplication” argument is that “the TCC could

 have handled, and did ably handle, the appeal without any of the services rendered by AWKO ….”

 Obj. ¶ 50. Here, too, the Debtor misses the point. Although the TCC had its own able counsel,

 AWKO worked with the TCC and other appellants to divide and allocate the issues on appeal and

 avoid duplication. See, e.g., Pfister Decl. (Motion Ex. B) ¶ 8. This allocation of issues reduced

 the TCC’s appellate workload, redounding to the benefit of the estate. Cf. Obj. ¶ 31 (discussing

 the decision to grant a substantial contribution request in In re Service Merchandise Co., Inc., 256

 B.R. 738, 743 (Bankr. M.D. Tenn. 1999), and quoting that court’s finding there was an “air of

 cooperation” and its observation that “the administrative costs saved by the synergy of the parties

 [was] significant”).

 C.     AWKO’s Successful Opposition to the Debtor’s Bankruptcy Aided the Creditor
        Body as a Whole

        The Debtor complains that it should not be required to bear the cost of “a scorched earth

 litigation strategy motivated by a desire to return to the tort system, which could be potentially

 profitable for counsel (but most often not for claimants).” Obj. ¶ 36; see also id. at 4 & ¶¶ 31, 33

 (additional references to claimants’ “scorched earth” litigation strategy). For example, the Debtor

 argues that it was a waste of resources for creditors to even “address” the Emergency Motion and

 the 2021 PI Motion because “preliminary injunction motions in mass tort chapter 11 cases are

 common place and, until recently, have been uncontroversial[.]” Id. ¶ 37. By this telling, any

 opposition to the Debtor’s bankruptcy strategy constituted “scorched earth” litigation, and

 creditors should have simply acquiesced to the Debtor’s improper bankruptcy purpose. This is a



                                                  6
Case 21-30589-MBK        Doc 3965      Filed 07/28/23 Entered 07/28/23 21:06:16           Desc Main
                                     Document      Page 7 of 8



 repackaging of the Debtor’s arguments in connection with the motion to dismiss in 2021 LTL, i.e.,

 bankruptcy is the most “equitable and efficient” alternative for talc claimants – whether they like

 it or not – and thus any attempt to impede the Debtor’s bankruptcy goals is wasteful and harmful

 to the estate.

         The Debtor’s argument presupposes that claimants’ desire to return to the tort system was

 an improper motive, even though the Third Circuit vindicated that very desire when it held that

 2021 LTL was a bad faith filing. In any event, active creditor participation in the chapter 11

 process is a laudable goal, not something to be discouraged. A purpose of section 503(b)(3)(D) is

 to further the “objective[] of encouraging meaningful creditor participation in the reorganization

 process.” Lebron, 27 F.3d at 944; see also In re DP Partners, Ltd. P’ship, 106 F.3d 667, 672 (5th

 Cir. 1997) (“The policy aim of authorizing fee awards to creditors is to promote meaningful

 creditor participation in the reorganization process.” (citation omitted)).

                                        III. CONCLUSION

         For all the reasons set forth herein and in the Motion, the Court should grant the Motion

 and enter an order substantially in the form of the proposed order attached as Exhibit A thereto.




                                                   7
Case 21-30589-MBK   Doc 3965     Filed 07/28/23 Entered 07/28/23 21:06:16        Desc Main
                               Document      Page 8 of 8



 DATED: July 28, 2023               Respectfully submitted,

                                    OFFIT KURMAN, P.A.

                                    /s/ Paul J. Winterhalter
                                    Paul J. Winterhalter, Esquire (006961986)
                                    99 Wood Avenue South, Suite 302
                                    Iselin, New Jersey 08830
                                    Telephone:      (267) 338-1370
                                    Facsimile:      (267) 338-1335
                                    E-mail:         pwinterhalter@offitkurman.com

                                    - and -

                                    KTBS LAW LLP
                                    Michael L. Tuchin (pro hac vice)
                                    Robert J. Pfister (pro hac vice)
                                    Samuel M. Kidder (pro hac vice)
                                    Nir Maoz (pro hac vice)
                                    1801 Century Park East, 26th Floor
                                    Los Angeles, California 90067
                                    Telephone:      (310) 407-4000
                                    Facsimile:      (310) 407-9090
                                    Email:          mtuchin@ktbslaw.com
                                                    rpfister@ktbslaw.com
                                                    skidder@ktbslaw.com
                                                    nmaoz@ktbslaw.com

                                    Attorneys for Aylstock, Witkin, Kreis & Overholtz, PLLC




                                              8
